       Case 1:19-cv-01618-TSC           Document 1-3           Filed 06/03/19   Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                     x

NEXTERA ENERGY GLOBAL HOLDINGS
B.V. and NEXTERA ENERGY SPAIN
HOLDINGS B.V.,
                                                         19 Civ.
                                      Petitioners,

                       v.

KINGDOM OF SPAIN,

                                      Respondent

                                                     x



       DECLARATION OF TIMOTHY G. NELSON IN SUPPORT OF PETITION
      TO RECOGNIZE AND CONFIRM INTERNATIONAL ARBITRAL AWARD

       Pursuant to 28 U.S.C. § 1746, I, Timothy G. Nelson, declare as follows:

       1.      I am an attorney admitted to practice law in New York. I am a partner at

Skadden, Arps, Slate, Meagher & Flom, LLP, and I represent Petitioners NextEra Energy Global

Holdings B.V. and NextEra Energy Spain Holdings B.V. (collectively "NextEra") in this action.

       2.      I respectfully submit this declaration in support of NextEra's Petition to

Recognize and Confirm an International Arbitral Award, and to place before the Court the

following exhibits attached hereto.

       3.      Attached hereto as Exhibit 1 is a true and correct certified copy of the arbitral

award rendered on May 31, 2019 in ICSID Case No. ARB/14/11, entitled NextEra Energy Global

Holdings B.V., & NextEra Energy Spain Holdings B. V. v. Kingdom of Spain. The award includes

as an annex a Decision on Jurisdiction, Liability and Quantum Principles dated March 12, 2019

rendered in the ICSID proceedings.
        Case 1:19-cv-01618-TSC           Document 1-3        Filed 06/03/19    Page 2 of 2



       4.      Attached hereto as Exhibit 2 is a true and correct copy of the 1965 Washington

Convention on the Settlement of Investment Disputes between States and Nationals of Other

States (the "ICSID Convention").

       5.      Attached hereto as Exhibit 3 is a true and correct copy of the Energy Charter

Treaty (the "ECT").

       6.      Attached hereto as Exhibit 4 is a true and correct copy of the list of member states

to the ICSID Convention, taken from the ICSID website (last accessed May 23, 2019).

       7.      Attached hereto as Exhibit 5 is a true and correct copy of the list of member states

to the ECT, taken from the Energy Charter Secretariat website (last accessed May 23, 2019).



I declare under penalty of perjury that the foregoing is true and correct.



Executed on June 3, 2019
New York, New York




                                                Timothy G. Nelson




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